        Case 3:16-cr-00194-MWB Document 102 Filed 03/08/18 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                             :       NO. 3:16-CR-194
                                                      :
               v.                                     :       (Judge Richard Caputo)
                                                      :
FUHAI LI,                                             :
                               Defendant              :


                        MEMORANDUM OF LAW IN SUPPORT OF
                           DR. LI’S MOTIONS IN LIMINE

       Dr. Li through undersigned counsel filed a number of Motions contending that certain

evidence is either not relevant or substantially more prejudicial than probative. Dr. Li anticipates

that the government will attempt to admit evidence outside of the statute of limitations, prior bad

acts, and evidence that is not sufficiently probative to overcome its inflammatory effect.

              The Federal Rules of Evidence determine the admissibility of evidence at trial. To

be admitted, evidence must be relevant i.e. must have the tendency to make a fact more or less

probable. Fed. R. Evid. 401(a). Also, it must be of consequence (material) in determining the

action. Fed. R. Evid. 401(b)

              If relevant evidence is substantially more prejudicial than probative, may confuse

the jury, mislead it, or waste time, the Court should not admit the proffered evidence. U.S. V.

Vosling, 602.F.3d 512, 537 (3d.Cir.2010), Fed .R. Evid. 403.

              A trial Court’s decision whether to admit evidence will be reviewed for abuse of

discretion. Walden v. Georgia Pacific Corp. 125 F.3d. 506, 517 (3d.Cir.1997). An abuse of

discretion is more than mere error.

              Dr. Li in his motion, sets forth 7 specific matters which he anticipates that the

government will introduce at trial. Initially, averments 1 and 7 in the motion, relate to anticipated

testimony about Dr. Li’s prescriptions for patients other than the patients in the indictment. Any

information or testimony which is not related to the patient in the indictment does not make more
         Case 3:16-cr-00194-MWB Document 102 Filed 03/08/18 Page 2 of 3



or less probable that Dr. Li treated the patients specified in the indictment improperly or criminally.

This evidence will be confusing and unduly prejudicial, hence violating Rules 401 (a) and Rule

403.

              Similarly, CVS Pharmacy reports about Dr. Li’s prescriptions generally have no

relevance unless the prescriptions are related to the specific patients in the indictment. The issue

here is not whether Dr. Li’s prescribing data is within CVS Pharmacies parameters, but how Dr.

Li treated certain patients mentioned in the indictment. What fact does this evidence make more

or less probable? Does the fact relate to a matter of consequence?

              In U.S. v. Hawkins, 215 F.3d 858 (3d.Cir.2000), the issue of possession of a gun

arose. The government alleged that the Defendant, a convicted felon, threw a gun in a snow bank

near his residence. The Defendant sought to cross examine the police officer who found evidence

of ammunition that would be a fit for the gun in question in an apartment upstairs from the

Defendant’s first floor room. The court there would not allow the Defendant’s cross reasoning that

the issue was possession of the gun in question. Possession of similar ammunition did not render

an issue of consequence more or less probable. Ownership was not relevant; possession was.

              In our case the potential evidence at issue in the motion, is tangential and not related

to the accusations in the indictment. Hence the evidence should not be admitted.

              In averment 4 of his motion Defendant suggests that Express Script (A national mail

order pharmacy), report is misleading and should not be allowed into evidence. That report weighs

Dr. Li’s prescribing against neurologists nationally, yet Dr. Li practices neurology and pain

management. This Express Script report is misleading and substantially outweighs any probative

value it may have. Fed. R. Evid.

              Averments 2, 3, 5 and 6 of Dr. Li’s motions are objecting to the admission of similar

kinds of evidence. Walmart’s refusal of prescriptions based on their own policies is not relevant to

Dr. Li’s treatment of his patients in the indictment. This would be, if offered, expert opinion

without providing an expert for the defense to cross-examine. If the government wishes to present
         Case 3:16-cr-00194-MWB Document 102 Filed 03/08/18 Page 3 of 3



an opinion, let it qualify that person and call her as a witness under procedures provided by the

Rules.

                The remaining averments; 3, 5, and 6 fall in the same category. They concern

Alcton’s Pharmacy ordering system (6), Local Pharmacies reporting (5), and the P.a. Attorney

Generals monitoring reports (3). They are reports that present numbers. The numbers do not tell

the fact finder whether Dr. Li properly or improperly, let alone criminally, treated or failed to treat

his patients.



                                      CONCLUSION

                For the reasons stated herein, this Court should grant the Defendant’s Motions in

Limine and direct the government not to request admission of the evidence set forth in said

Motions.




                                               Respectfully submitted,

                                               William Ruzzo
                                               WILLIAM RUZZO, ESQUIRE
                                               Attorney I.D. #53926
                                              590 Rutter Avenue
                                              Kingston, PA 18704
                                              (570) 288-7799
                                              Fax (570) 288-7798
